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                              UNITED STATES DISTRICT COURT


                                 DISTRICT OF SOUTH DAKOTA


                                       CENTRAL DIVISION



  UNITED STATES OF AMERICA,                                        3:23-CR-30022-RAL


                         Plaintiff,
                                                          ORDER ADOPTING REPORT AND
                                                        RECOMMENDATION AND DENYING
         vs.                                                     MOTION TO DISMISS


  TYSON QUIGLEY, a/k/a Tyson Stands, and
 ERWIN WHITE LANCE,

                         Defendants.




        Defendant Erwin White Lance filed a motion to dismiss Count III of the Superseding

 Indictment, Doc. 92, asserting that the first-degree burglary charge in Count I does not qualify as

 a predicate "crime ofviolence." Tyson Quigley, a/k/a Tyson Stands,joined White Lance's motion

 to dismiss. Doc. 107.


        On November 14, 2023, Magistrate Judge Mark A. Moreno issued a report, Doc. 115,

 recommending that the motions to dismiss, Docs. 92 and 107, be denied. Originally, the parties

 had fourteen calendar days to file objections to the Report and Recommendation. Doc. 115 at 11.

 Judge Moreno later entered an order extending the deadline to file objections to December 5,2023.

 Doc. 119. White Lance passed away on December 1,2023,and this Court subsequently dismissed

 the Superseding Indictment as it pertained to White Lance. Doc. 128. In light of White Lance's

 death, Quigley moved to extend the deadline to file objections a second time. Doc. 123. This

 Court granted Quigley's motion and enlarged the deadline for Quigley to file objections to

 December 11, 2023. Doc. 124.
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        This Court reviews a report and recommendation under the statutory standards found in 28

 U.S.C.§ 636(b)(1), which provides in relevant part that "[a]judge ofthe [district] court shall make

 a de novo determination of those portions of the report or specified proposed findings or

 recommendations to which objection is made." "In the absence of an objection, the district court

 is not required to 'give any more consideration to the magistrate's report than the Court considers

 appropriate.'" United States v. Murillo-Fieueroa. 862 F. Supp. 2d 863, 866 (N.D. Iowa 2012)

(quoting Thomas v. Am.474 U.S. 140, 150(1983)).

        Neither Quigley nor the United States objected to the Report and Recommendation, and

 the time for doing so has now passed. Accordingly, this Court has reviewed the Report and

 Recommendation under a clearly erroneous standard ofreview. See Grinder v. Gammon.73 F.3d

 793,795(8th Cir.1996)(percuriam)(explaining that when no objections are filed and the time for

 filing objections has expired, the district court "would only have to review the findings of the

 magistrate judge for clear error"). Finding no clear error, this Court adopts the Report and

 Recommendation.

        For the foregoing reasons, it is hereby

        ORDERED that the Report and Recommendation for Disposition of Motion to Dismiss

 Coimt III of Superseding Indictment, Doc. 115, is adopted. It is further

        ORDERED that the Motion to Dismiss, Doc. 92, which Tyson Quigley joined. Doc. 107,

 is denied.

        DATED this Jig** day of December,2023.

                                              BY THE COURT:



                                              ROBERTO A. LANGI
                                              CHIEF JUDGE
